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                          Defendant.

                             ORDER TENV OQAKH Y UNSEALW G TRANSCRHC


            OnJuly 8,2010,tlliscourtreceived atrangcdptorderclatedJuly,t,2010,rrqudutingtranscri
                                                                                               ptsofa
    h-nringheld onOctober,5,2007,November2,2007,December7,2007,February 1,2008and M arcb7,2* 8,from
    bir.KevinStoiworfhy,cmmselfordefendant,inwhich portionsoftheh-nrlngsweresealed.

             IT IS THE ORDER OF TlTE COURT thattlzesealedtranscriptssiballbetmsealedbytbeClerk forthe
    limited pmposeofprovidingacopyoftbetrazkscriptmsrequestedbyM r.Stolwoe y.


           IT Is FIJR'I'HER ORDERED thatthesealedtranscriptsshallthereaAerbere-sealedbytheClerk atzd a
    cero edcopyofthetranscriptbedeliveredtotheClerkplrmpnntto28U.S.C.,SecEon75309,= t11fartherorderof
    tidsCourt.


             IT ISFURTHER ORDERED thatthereceiviagparty shallnotdisclogetlle sealed contentsoftbe
    transcriptoftbeprooeedingto anyoneotllertbantherepresentativesofthepart
                                                                          iesdirectlyconceraed witb thiscmse.


             DATBD this iT-Q(
                            layofJuly, 2010.


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                                                      PeggyA . 'en
                                                      United StatesM agistrateJudge
